                                   UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF ARIZONA

IN RE: PHOENIX INTERFACE TECHNOLOGIES, LLC                      CASE NO: 2:19-bk-00459-MCW
                                                                DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 11
                                                                ECF Docket Reference No. 37




On 2/19/2019, I did cause a copy of the following documents, described below,
Interim Order Authorizing the Use of Cash Collateral ECF Docket Reference No. 37
Budget attached to Interim Order Authorizing the Use of Cash Collateral 37-1
Interim Order Determining Adequate Assurance of Performance 38
Interim Order Approving Financing of Accounts and Granting Replacement Liens 39




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 2/19/2019
                                                          /s/ Kelly G. Black
                                                          Kelly G. Black 016376
                                                          Kelly G. Black, PLC
                                                          1152 E Greenway St, Ste 4
                                                          Mesa, AZ 85203-4360
                                                          480 639 6719



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                                        UNITED STATES BANKRUPTCY COURT
                                               DISTRICT OF ARIZONA

 IN RE: PHOENIX INTERFACE TECHNOLOGIES, LLC                             CASE NO: 2:19-bk-00459-MCW

                                                                        CERTIFICATE OF SERVICE
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 11
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were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 2/19/2019




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            Kelly G. Black
                                                                            Kelly G. Black, PLC
                                                                            1152 E Greenway St, Ste 4
                                                                            Mesa, AZ 85203-4360
            Case 2:19-bk-00459-MCW                   Doc 45 Filed 02/21/19 Entered 02/21/19 16:45:55                             Desc
                                                     Main Document    Page 2 of 4
PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SERVED VIA USPS FIRST CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO                                                                         EXCLUDE
                                         ICON OWNER POOL I WESTSOUTHWEST LLC
1LABEL MATRIX FOR LOCAL NOTICING         CO BRIAN BERGIN ESQ                      PHOENIX INTERFACE TECHNOLOGIES LLC
09702                                    BERGIN FRAKES SMALLEY OBERHOLTZER        520 N EMERSON
CASE 2-19-BK-00459-MCW                   4343 E CAMELBACK ROAD 210                MESA AZ 85201-5516
DISTRICT OF ARIZONA                      PHOENIX AZ 85018-2756
PHOENIX
TUE FEB 19 06-11-02 MST 2019



US BANKRUPTCY COURT ARIZONA              ACCUZONA STEEL RULE DIE INC              ADVANTAGE BUSINESS CAPITAL INC
230 NORTH FIRST AVENUE SUITE 101         2346 E UNIVERSITY DR STE 170             CO BRAD BAIRD
PHOENIX AZ 85003-0608                    PHOENIX AZ 85034-6828                    4605 POST OAK PLACE DRIVE SUITE 105
                                                                                  HOUSTON TX 77027-9732




AERO SPACE SOUTHWEST                     AMERICAN EXPRESS                         ARIZONA DEPARTMENT OF REVENUE
21450 N THIRD AVE                        PO BOX 297879                            1600 W MONROE ST
PHOENIX AZ 85027-2946                    FORT LAUDERDALE FL 33329-7879            PHOENIX AZ 85007-2650




CORPORATION SERVICE COMPANY AS REP       COX COMMUNICATIONS                       COX COMMUNICATIONS
PO BOX 2576                              ATTN BANKRUPTCY CENTER                   PO BOX 1259
SPRINGFIELD IL 62708-2576                1341 CROSSWAYS BLVD                      DEPT 102285
                                         CHESAPEAKE VA 23320-2897                 OAKS PA 19456-1259




DON KENNEY                               EVEREST BUSINESS FUNDING                 FRONTLINE ASSET STRATEGIES
249 N WESTWOOD                           8200 NW 52ND TER 2ND FLOOR               2700 SNELLING AVE N STE 250
MESA AZ 85201-6316                       BROWNSVILLE TX 33166-7852                ROSEVILLE MN 55113-1783




GLP US HEADQUARTERS                      H MILES COHN                             HARDY CUSTOMS
CO KYLE RICKMAN                          CRAIN CATON JAMES                        1140 W ALAMEDA STE 102
2 NORTH RIVERSIDE PLAZA SUITE 2350       1401 MCKINNEY ST SUITE 1700              TEMPE AZ 85282-3346
CHICAGO IL 60606-2617                    HOUSTON TX 77010-1079




HY TECH FORMING SYSTEMS USA INC          ICON OWNER POOL WESTSOUTHWEST LLC        IPM PRODUCTS MANUFACTURING INC
CO RUSSELL NELSON                        ATTN BRIAN BERGIN                        PO BOX 102973
2425 W DESERT COVE AVE                   BERGIN FRAKES SMALLEY OBERHOLTZER PLL    DENVER CO 80250-2973
PHOENIX AZ 85029-4750                    4343 E CAMELBACK ROAD 210
                                         PHOENIX AZ 85018-2756




INTERNAL REVENUE SERVICE                 KENNEY FACTORING LLC                     LVNV FUNDING LLC
PO BOX 7346                              CO DON KENNEY                            RESURGENT CAPITAL SERVICES
PHILADELPHIA PA 19101-7346               249 N WESTWOOD                           PO BOX 10587
                                         MESA AZ 85201-6316                       GREENVILLE SC 29603-0587




LEROY BREINHOLT AND DARIN EDWARDS        ON DECK CAPITAL INC                      PAYROLL FUNDING
2323 W UNIVERSITY DR                     901 N STUART ST SUITE 700                95 ROUTE 17 SOUTH SUITE 310
TEMPE AZ 85281-7223                      ARLINGTON VA 22203-4129                  PARAMUS NJ 07652-2626




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PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SERVED VIA USPS FIRST CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

POLLEN TECH LLC                          QUANTUM3 GROUP LLC AS AGENT FOR          RICK DURFEE
520 N EMERSON                            MOMA FUNDING LLC                         1423 S HIGLEY RD STE 127
MESA AZ 85201-5516                       PO BOX 788                               MESA AZ 85206-3450
                                         KIRKLAND WA 98083-0788




SRP BUSINESS CENTER PAB361               SRP MAILSTOP ISB232                      SAGE CAPITAL RECOVERY INC
PO BOX 52025                             PO BOX 52025                             1040 KING HWY N
PHOENIX AZ 85072-2025                    PHOENIX AZ 85072-2025                    CHERRY HILL NJ 08034-1908




SCRIVEN PRECISION FABRICATING            SHAFFER BROTHERS                         SHAFFER BROTHERS
6740 W CHICAGO ST                        CO CHRIS SHAFFER                         CO JEFF SHAFFER
CHANDLER AZ 85226-3318                   28244 N 67TH ST                          5847 E DALE LN
                                         CAVE CREEK AZ 85331-6550                 CAVE CREEK AZ 85331-3437




STAG ENTERPRISE INC                      TM VENTURES LLC                          THOMAS BROWN JR
383 WILBANKS DR                          CO DON KENNEY                            520 N EMERSON
BALL GROUND GA 30107-6002                249 N WESTWOOD                           MESA AZ 85201-5516
                                         MESA AZ 85201-6316




THOMAS L BROWN                           TODD KENNEY                              TREVOR RAY
520 N EMERSON                            TM VENTURES LLC                          467 S 31ST STREET
MESA AZ 85201-5516                       9130 E PLATA AVE                         MESA AZ 85204-3103
                                         MESA AZ 85212-2820




                                         EXCLUDE
TURNER TAX AND ACCOUNTING                                                         VOIPLY LLC
3613 W FOLLEY ST                         US TRUSTEE                               2223 WIGHTMAN STREET
CHANDLER AZ 85226-4912                   OFFICE OF THE US TRUSTEE                 PITTSBURGH PA 15217-2065
                                         230 NORTH FIRST AVENUE
                                         SUITE 204
                                         PHOENIX AZ 85003-1725



                                                                                  EXCLUDE
VOIPLY LLC                               ZWICKER AND ASSOCIATES
301 GRANT ST 4300                        79 MINUTEMAN RD                          KELLY G BLACK
PITTSBURGH PA 15219-6405                 ANDOVER MA 01810                         KELLY G BLACK PLC
                                                                                  1152 E GREENWAY ST STE 4
                                                                                  MESA AZ 85203-4360




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